                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF TENNESSEE
                                          NASHVILLE DIVISION

  UNITED STATES OF AMERICA                     )
                                               )
                v.                             )     No. 3:21-cr-95
                                               )
  ALEXANDER FRIEDMAN                           )


           PETITION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM
1. Alexander Friedmann, DOB: XX/XX/1969, TDOC # 135616, is in due form and process of law,
   confined in the custody of the Tennessee Department of Corrections, Riverbend Maximum Security
   Institution, 7475 Cockrill Bend Boulevard, Nashville, TN 37209.

2. Said individual has been charged pursuant to an Indictment in Case Number 3:21-CR-95 and is needed for an
   Evidentiary Hearing before Judge Aleta Trauger for the Middle District of Tennessee scheduled for September
   28th, 2022 at 1:00 P.M, A Writ of Habeas Corpus Ad Prosequendum should issue for that purpose.


  Dated: September 12th, 2022
                                                        s/Manuel B. Russ
                                                        340 21st Avenue North,
                                                        Nashville, TN 37203,
                                                        BPR#23866
                                                        Attorney for the Defendant


                            WRIT OF HABEAS CORPUS AD PROSEQUENDUM

  TO: United States Marshal, Middle District of Tennessee
      Nashville; Tennessee Department of Corrections, Riverbend Maximum Security Institution,
      7475 Cockrill Bend Boulevard, Nashville, TN 37209. The Petition is GRANTED.

  The Defendant’s request for a Writ of Habeas Corpus Ad Prosequendum is GRANTED, and it is hereby ordered
  that Alexander Friedmann, DOB: XX/XX/1969, TDOC #135616, who currently is confined in the custody of
  the Tennessee Department of Corrections, Riverbend Maximum Security Institution, 7475 Cockrill Bend
  Boulevard, Nashville, TN 37209, shall be transferred to the custody of the United States Marshal and produced
  for a Evidentiary Hearing on September 28th, 2022, at 1:00 P.M. The Defendant shall be immediately transferred
  back to state custody at the conclusion of the September 28th, 2022, hearing. The defendant’s appearance in this
  Court shall not interfere with any proceedings currently scheduled for the defendant in any state criminal case.


  WITNESS, the Honorable Aleta Trauger, United States District Judge, Middle District of Tennessee.

  DATED:

                                               By:
                                                        Aleta Trauger
                                                        United States District Judge
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